            Case 2:24-cv-00200-TL Document 23 Filed 03/06/24 Page 1 of 3



 1                                                                        THE HONORABLE TANA LIN

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
 9                                         AT SEATTLE

10
     ROBIN KROHN, individually and on behalf of            Case No. 2:24-cv-00200-TL
11   all others similarly situated,
                                                           STIPULATED NOTICE EXTENDING
12                         Plaintiff,                      DEADLINES

13          v.

14   PACIFIC MARKET INTERNATIONAL, LLC, a
     corporation,
15
                           Defendant.
16
17          On February 14, 2024, Plaintiff Robin Krohn filed her Complaint (Dkt. # 1) against Defendant

18   Pacific Market International, LLC (“PMI”) and served PMI with the summons and Complaint on

19   February 20, 2024. Pursuant to Judge Lin’s Standing Order for All Civil Cases, the parties have agreed

20   to an extension of time for PMI to answer or otherwise respond to the Complaint by no later than April

21   26, 2024. The parties request the Clerk to reset the deadline as noticed.

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28   STIPULATED NOTICE EXTENDING DEADLINES                               Shook, Hardy & Bacon, L.L.P.
     No. 2:24-cv-00200-TL                                                701 5th Avenue, Suite 6800
                                                                         Seattle, WA 98104-7066
                                                                         206.344.7600
           Case 2:24-cv-00200-TL Document 23 Filed 03/06/24 Page 2 of 3



 1   Dated: March 6, 2024                Respectfully submitted,
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          Case 2:24-cv-00200-TL Document 23 Filed 03/06/24 Page 3 of 3



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